              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:01-cr-00048-MR-9



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
                                )
TIMNAH RUDISILL,                )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s pro se motion

for a copy of his Jury Verdict form [Doc. 685].

      Upon review of the Defendant’s motion, the Court will authorize the

Clerk to provide a copy of the Defendant’s Jury Verdict form, with the

foreperson’s name redacted.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion [Doc.

685] is GRANTED, and the Clerk of Court is hereby authorized to provide a

redacted copy of the Jury Verdict form [Doc. 180] to the Defendant.

      IT IS SO ORDERED.




   Case 1:01-cr-00048-MR-WCM     Document 686     Filed 09/12/15   Page 1 of 1
